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                     UNITED STATES COURT OF APPEALS                          FILED
                             FOR THE NINTH CIRCUIT                            APR 3 2023
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                         No. 22-10348

                 Plaintiff-Appellee,              D.C. No. 3:19-cr-00621-EMC-1
                                                  Northern District of California,
  v.                                              San Francisco

AHMAD ABOUAMMO,                                   ORDER

                 Defendant-Appellant.

Before: S.R. THOMAS and KOH, Circuit Judges.

       Appellant’s opposed motion for bail pending appeal (Docket Entry No. 6) is

denied. Appellant has not shown that the appeal raises a “substantial question” of

law or fact that is “fairly debatable,” and that “if that substantial question is

determined favorably to defendant on appeal, that decision is likely to result in

reversal or an order for a new trial of all counts on which imprisonment has been

imposed,” or a sentence that does not include a term of imprisonment, or a reduced

sentence to a term of imprisonment less than the total of the time already served

plus the expected duration of the appeal process. See United States v. Handy, 761

F.2d 1279, 1283 (9th Cir. 1985); see also 18 U.S.C. § 3143(b)(1)(B).

       The existing briefing schedule remains in effect.
